Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 1 of 127




                                                                       P. 001
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 2 of 127




                                                                       P. 002
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 3 of 127




                                                                       P. 003
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 4 of 127




                                                                       P. 004
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 5 of 127




                                                                       P. 005
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 6 of 127




                                                                       P. 006
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 7 of 127




                                                                       P. 007
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 8 of 127




                                                                       P. 008
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 9 of 127




                                                                       P. 009
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 10 of 127




                                                                        P. 010
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 11 of 127




                                                                        P. 011
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 12 of 127




                                                                        P. 012
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 13 of 127




                                                                        P. 013
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 14 of 127




                                                                        P. 014
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 15 of 127




                                                                        P. 015
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 16 of 127




                                                                        P. 016
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 17 of 127




                                                                        P. 017
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 18 of 127




                                                                        P. 018
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 19 of 127




                                                                        P. 019
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 20 of 127




                                                                        P. 020
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 21 of 127




                                                                        P. 021
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 22 of 127




                                                                        P. 022
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 23 of 127




                                                                        P. 023
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 24 of 127




                                                                        P. 024
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 25 of 127




                                                                        P. 025
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 26 of 127




                                                                        P. 026
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 27 of 127




                                                                        P. 027
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 28 of 127




                                                                        P. 028
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 29 of 127




                                                                        P. 029
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 30 of 127




                                                                        P. 030
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 31 of 127




                                                                        P. 031
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 32 of 127




                                                                        P. 032
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 33 of 127




                                                                        P. 033
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 34 of 127




                                                                        P. 034
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 35 of 127




                                                                        P. 035
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 36 of 127




                                                                        P. 036
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 37 of 127




                                                                        P. 037
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 38 of 127




                                                                        P. 038
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 39 of 127




                                                                        P. 039
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 40 of 127




                                                                        P. 040
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 41 of 127




                                                                        P. 041
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 42 of 127




                                                                        P. 042
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 43 of 127




                                                                        P. 043
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 44 of 127




                                                                        P. 044
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 45 of 127




                                                                        P. 045
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 46 of 127




                                                                        P. 046
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 47 of 127




                                                                        P. 047
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 48 of 127




                                                                        P. 048
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 49 of 127




                                                                        P. 049
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 50 of 127




                                                                        P. 050
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 51 of 127




                                                                        P. 051
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 52 of 127




                                                                        P. 052
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 53 of 127




                                                                        P. 053
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 54 of 127




                                                                        P. 054
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 55 of 127




                                                                        P. 055
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 56 of 127




                                                                        P. 056
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 57 of 127




                                                                        P. 057
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 58 of 127




                                                                        P. 058
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 59 of 127




                                                                        P. 059
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 60 of 127




                                                                        P. 060
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 61 of 127




                                                                        P. 061
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 62 of 127




                                                                        P. 062
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 63 of 127




                                                                        P. 063
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 64 of 127




                                                                        P. 064
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 65 of 127




                                                                        P. 065
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 66 of 127




                                                                        P. 066
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 67 of 127




                                                                        P. 067
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 68 of 127




                                                                        P. 068
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 69 of 127




                                                                        P. 069
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 70 of 127




                                                                        P. 070
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 71 of 127




                                                                        P. 071
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 72 of 127




                                                                        P. 072
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 73 of 127




                                                                        P. 073
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 74 of 127




                                                                        P. 074
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 75 of 127




                                                                        P. 075
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 76 of 127




                                                                        P. 076
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 77 of 127




                                                                        P. 077
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 78 of 127




                                                                        P. 078
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 79 of 127




                                                                        P. 079
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 80 of 127




                                                                        P. 080
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 81 of 127




                                                                        P. 081
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 82 of 127




                                                                        P. 082
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 83 of 127




                                                                        P. 083
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 84 of 127




                                                                        P. 084
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 85 of 127




                                                                        P. 085
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 86 of 127




                                                                        P. 086
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 87 of 127




                                                                        P. 087
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 88 of 127




                                                                        P. 088
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 89 of 127




                                                                        P. 089
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 90 of 127




                                                                        P. 090
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 91 of 127




                                                                        P. 091
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 92 of 127




                                                                        P. 092
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 93 of 127




                                                                        P. 093
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 94 of 127




                                                                        P. 094
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 95 of 127




                                                                        P. 095
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 96 of 127




                                                                        P. 096
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 97 of 127




                                                                        P. 097
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 98 of 127




                                                                        P. 098
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 99 of 127




                                                                        P. 099
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 100 of 127




                                                                        P. 100
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 101 of 127




                                                                        P. 101
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 102 of 127




                                                                        P. 102
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 103 of 127




                                                                        P. 103
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 104 of 127




                                                                        P. 104
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 105 of 127




                                                                        P. 105
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 106 of 127




                                                                        P. 106
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 107 of 127




                                                                        P. 107
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 108 of 127




                                                                        P. 108
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 109 of 127




                                                                        P. 109
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 110 of 127




                                                                        P. 110
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 111 of 127




                                                                        P. 111
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 112 of 127




                                                                        P. 112
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 113 of 127




                                                                        P. 113
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 114 of 127




                                                                        P. 114
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 115 of 127




                                                                        P. 115
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 116 of 127




                                                                        P. 116
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 117 of 127




                                                                        P. 117
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 118 of 127




                                                                        P. 118
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 119 of 127




                                                                        P. 119
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 120 of 127




                                                                        P. 120
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 121 of 127




                                                                        P. 121
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 122 of 127




                                                                        P. 122
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 123 of 127




                                                                        P. 123
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 124 of 127




                                                                        P. 124
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 125 of 127




                                                                        P. 125
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 126 of 127




                                                                        P. 126
Case 2:25-cv-01228-KKE   Document 104-2   Filed 07/08/25   Page 127 of 127




                                                                        P. 127
